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                                                              ;'   .
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        NUVASIVE, INC.        )
                     )
             Plaintiff,
                     )
        v.                )
                     )
                                              ·.': ~
        ABSOLUTE MEDICAL, LLC, GREG       )
                                                  ......·::
        SOUFLBRIS, and DAVE HAWLEY,   )
                     )
             Defendants,
Case 6:17-cv-02206-CEM-GJK Document 60-11 Filed 05/23/18 Page 2 of 27 PageID 624
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                               INDEPENDENT CONTRACTOR AGREEMENT


                This Independent Contractor Agreement ("Agreement") dated as of May 13, 2016
        ("Effective Date"), by and between ABSOLUTE MEDICAL INC., a Florida corporation
        ("Distributor") and BRENNAN BURKHART. ("ASSOCIATE SALES REP") and, if
        applicable, its principal owner LNtJK fkwt.I? I.Le , an individual ("Principal") on the
        other hand.

                                                   RECITALS

               A.      Distributor is engaged in the business ofrepresenting NuVasive, Inc., a Delaware
        corporation ("NuVasive"), a manufacturer of cervical, thoracic and lumbar implants, devices,
        supplies and similar items ("Medical Products") in the sale of the Medical Products to
        Distributor customers.

               B.      Salesperson is familiar with Distributor's business and the lines of Medical
        Products represented by Distributor.

                C.      Salesperson desires to sell certain lines of the Medical Products represented by
        Distributor, and Distributor desires to obtain the services of Salesperson, as an independent
        contractor, to sell certain lines of the Medical Products represented by Distributor and to provide
        related services.

                NOW THEREFORE, in consideration of the foregoing recitals (each and all of which
        constitute substantial and material provisions of this Agreement), the mutual covenants,
        promises, and obligations herein contained, and for other good and valuable consideration, the
        receipt and sufficiency of which are hereby acknowledged, Distributor and Salesperson hereby
        agree as follows:

        1.     BASIC OBLIGATIONS OF PARTIES

               1.1     Services.    Upon the tenns, and subject to the conditions, contained in this
        Agreement, Salesperson hereby agrees to represent Distributor in the solicitation of orders
       (''Services") from hospitals, clinics and other healthcare facilities, physicians, physician groups
       and other healthcare providers ("Customers") in the Assigned Territory (as defined in Section
        1.2 hereof) with respect to the sale of certain Medical Products that are from time to time
       assigned by Distributor to Salesperson ("Assigned Products") for sale within the Assigned
       Territory to those Customers and prospective Customers who and which are assigned to
       Salesperson by Distributor (collectively, the "Assigned Customers"). Distributor hereby
       reserves the right to change the Assigned Products, the Assigned Territory and/or the Assigned
       Customers at any time for any reason or no reason. Salesperson shall not, directly or indirectly,
       (i) advertise or promote any Assigned Products outside the Assigned Territory; (ii) solicit or
       procure any orders for Assigned Products from outside the Assigned Territory; or (iii) otherwise
       act as Distributor's representative with respect to the Assigned Products outside the Assigned
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                                                                                                           EXHIBIT

                                                                                                 I               A
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       Territory, without the prior written consent of Distributor. Salesperson's authority is expressly
       limited to the solicitation of orders from Customers and prospective Customers and shall not
                                                                                                                .......
                                                                                                                    \

       have any authority to bind Distributor or NuVasive.

                1.2    Assigned Territory. For purposes of this Agreement, the term "Assigned
       Territory" shall initially mean the territory described on Schedule A hereto. Salesperson shall
       not solicit or procure any orders for any Medical Products any person, who or which is located
       outside of the Assigned Territory or for use outside of the Assigned Territory, regardless of
       whether or not such person or user is a Customer or prospective Customer of Distributor. !he
       Assigned Territory may be increased, decreased or realigned by Distributor from time to time
       without prior notice to Salesperson and in Distributor's sole and absolute discretion. Upon any
       changes to the Assigned Territory, Distributor may amend Schedule A to this Agreement to
       reflect the same without the consent of Salesperson.

               1.3    Independent Contractor.

                       (a)     The services of Salesperson established by this Agreement are to be
       rendered as an independent contractors, and nothing contained in this Agreement shall be
       construed to (i) give either Distributor the power to direct and control the day-to-day activities of
       Salesperson, (ii) constitute the party as partners, joint venturers, co-owners or otherwise as
       participants in a joint undertaking, or (iii) allow Salesperson to create or assume any obligation
       on behalf of Distributor for any purpose whatsoever, and both Distributor and Salesperson
       hereby stipulate and agree that Salesperson shall, for all purposes, be considered an independent
       contractor. Salesperson shall not, directly or indirectly, serve or himself/herself/itself out to be a
       servant or employee of Distributor or make any commitments or incur any liabilities on behalf of
       Distributor, without first obtaining Distributor's prior written consent which may be arbitrarily
       given or withheld by Distributor in Distributor's sole, absolute and unrestricted discretion.

                      (b)    Salesperson shall not be deemed to be employed by Distributor for
       purposes of the Federal Social Security Act or any federal or state law concerning employment,
       compensation for employment services rendered or insurance for injuries sustained in the
       performance of his services, and Salesperson shall be required to file all tax forms required of an
       independent contractor and shall be solely responsible for the payment and reporting of any taxes
       due on whatever remuneration is paid by Distributor to Salesperson hereunder.

                       (c)     Salesperson shall procure and maintain all State, County and City (if
      . applicable) business licenses, at Salesperson's sole cost.

                      (d)     Salesperson shall fully comply with all laws, statutes, codes, ordinances
       regulations, rulings, requirements, orders, judgments ~d decr~es of all federal, sta~, county:
       municipal, and local governments, governmental agencies, quasi-governmental agencies, courts,
       and other governmental authorities having jurisdiction and authority with respect to
       Salesperson's business.

                      (e)     Salesperson shall conduct Salesperson's affairs with the utmost integrity


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        in such manner as will maintain Distributor's goodwill and reputation as a first-class provider of
        services incident to the representation and sale of Medical Products.

                      (f)    Salesperson shall not perform or administer any Services under the
        influence of any illegal drug or alcohol and shall submit to a lab administered drug test
        immediately upon the request of the Distributor.

                       (g)    Salesperson is not entitled to, or eligible to receive, any employee benefits
       provided by Distributor to its employees (if any) such as life and/or health insurance, sick leave,
       paid vacation, retirement benefits or other fringe benefits.

                       (h)   Salesperson shall have unilateral control over the manner in which the
       Services herein contracted for are to be provided, and Distributor shall have no direct or implied
       authority over the Salesperson's work nor supervisory power over the procedures used by the
       Salesperson other than to assure itself with regard to the Salesperson's adherence to reasonable
       standards for the conduct of the Services contracted for hereunder.

                       (i)   Salesperson shall be under no obligation to devote any specific amount of
       time or to perform services during any particular hours; it being understood that Salesperson may
       devote as much or as little time as may be necessary to satisfy Salesperson's obligations and may
       perform services during such hours as may be reasonable appropriate under the circumstances.

                       (j)    Salesperson represents and warrants that Salesperson possesses the skills
       necessary to provide the services required pursuant to this Agreement and Distributor shall not
       be required to provide any training whatsoever.

              1.4    No Debarment. Salesperson represents and warrants that Salesperson has not
      been debarred, suspended, excluded or otherwise declared ineligible under Section 306 of the
      Federal Food, Drug and Cosmetic Act (as amended by the Generic Drug Enforcement Act of
      1992), 21 U.S.C. § 336, and has not been listed on any applicable federal exclusion list including
      the then-current: (a) HHS/OIG List of Excluded Individuals/Entities (available through the
      Internet at http://www.oig.hhs.gov); (b) General Services Administration's List of Parties
      Excluded from Federal Programs (available through the Internet at http://www.epls.gov); and (c)
      FDA         Debarment        List      (available       through        the       internet       at
      http;//www.fda.gov/ora/compliance_ref/debar/).

              1.5    Other Providers of Services, Nothing contaitJ.ed in this Agreement shall be
      construed to restrict Distributor from entering into any agreement with any other person (whether
      an employee, independent salesperson or otherwise) with respect to the sale of any of the
      Medical Products, including, without limitation, agreements for the provision of services the
      same as or similar to the Services, in the same ·geographic location in which Salesperson is to
      provide Services.

            1.6     Volume. Salesperson hereby acknowledges and agrees that Distributor makes no
     representation or warranty whatsoever with respect to the volume of sales that Salesperson may

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            expect to realize from selling any of the Assigned Products.

                    l.7    Best Efforts.   Salesperson agrees to devote Salesperson's best efforts to the
            provision of the Services.

                    1.8     Resolution of Conflicts Between Parties. Distributor shall have the exclusive
            authority to resolve all disputes between Salesperson and any other salespersons or e~pl~yees ?r
            agents of Distributor.       Salesperson hereby acknowledges and agrees that Dtstnbutor s
            determinations with respect to such disputes shall be final and binding on Salesperson.

            2.      COMPENSATION AND EXPENSES

                     2.1     Quota and Commission Plan. Distributor shall pay Salesperson compensation in
           · accordance with the quota and commission plan for Salesperson set forth on Schedule B hereto,
             as may be amended or modified by Distributor from time to time. Distributor reserves the
             unrestricted right to modify the quota and commission plan without prior notice to Salesperson
             and in Distributor's sole and absolute discretion. Distributor may amend Schedule B to this
             Agreement to reflect any changes to the same without the consent of Salesperson.

                    2.2     Reimbursement of Expenses. Distributor will reimburse Salesperson for expenses
             reasonably and necessarily incurred by Salesperson in providing the Services in accordance with
             Distributor's travel and expense reimbursement policy in effect at the time the expenses are
             incurred, and subject to such substantiation as Distributor may require as a condition of such         ,""""
             reimbursement. Distributor reserves the unrestricted right to amend and modify its expense             I   I
             reimbursement plan without notice to or the consent of Salesperson (see Schedule C).

             3.      TERM OF AGREEMENT

                    3.1     Term. This Agreement shall be effective beginning on and as of the Effective
             Date and shall continue in effect through December 31, 2015 (the "Term"), unless sooner
             terminated under the provisions of Section 7 hereof. Upon thirty (30) days written notice to
             Salesperson prior to the expiration of the then current Term, Distributor shall have the option to
             renew the Agreement for successive one (1) year terms with each such renewal constituting an
             additional year in the Term.

                     3.2    Survival of Certain Obligations. Salesperson hereby agrees that, notwithstanding
             the termination of this Agreement as provided herein, the restrictive covenants set forth in
             Article 5 of this Agreement shall survive any such termination and remain in full force and
             effect.

             4.      PERFORMANCE OF SERVICES

                     4.1     Conduct. If Salesperson is not an individual but is an entity such as a corporation
             or limited-liability company, Salesperson shall cause its principal in the introductory paragraph
             of this Agreement to provide all services on behalf of Salesperson; and all duties, responsibilities


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         and obligations of Salesperson shall apply with equal force to such person desi8!1a~ed the same
         as if such person were, ~n fact, the Salesperson and the Salespe;.son and sue~, p~mc1pal s~all ~e
         jointly and severally hable therefor. Whenever the tenn . S~Jesperson. 1s u~e? m this
         Agreement it shall mean both the Salesperson and the Pnnc1pal collect1vely, Jointly and
         severally. Salesperson hereby agrees to provide all Services in strict confonnity with the h.ighest
         of moral and ethical standards to maintain and enhance Distributor's reputation and goodwill and
         to advance the business interests of Distributor generally. Specifically, without limiting the
         generality of the preceding sentence, Salesperson shall not use or employ any improper means
         which would constitute a tortuous interference with any contractual right or business expectancy
         of any former employer of Salesperson.

                4.2     No Restrictions. Salesperson hereby represents and warrants to Distributor that
         Salesperson is not a party to, or otherwise bound by, any employment, sales agency or other
         independent contractor agreement or relationship, or by any non-disclosure, non-circumvention,
         non-competition non-solicitation, confidentiality or similar agreement or relationship with any
         other person that could affect Salesperson's performance under this Agreement or pose any
         actual or potential conflict of interest, and Salesperson agrees not to enter into any such
         agreement or relationship during the Term.

                4.3    Place of Service. Salesperson shall be under no obligation to render services at or
        from any particular location; it being recognized and understood that Salesperson may provide
        services from Salesperson's place of business or residence, the location of Distributor's offices
        or any other location as may be reasonably appropriate under the circumstances.

                 4.4     Compliance with Laws. Salesperson shall comply with all applicable federal,
         state and local laws, regulations and ordinances, including, without limitation, (a) the Social
         Security Act, (b) the Health Insurance Portability and Accounting Act of 1996, 42 U.S.C. §300
         gg et seq and all regulations and guidelines promulgated thereunder (HIPPA), (c) all federal and
         state health care anti-fraud, anti-kickback and abuse laws and (d) all rules and regulations of the
        Federal Food and Drug Administration (FDA) and the Center for Medicare and Medicaid
        Services (CMS). Without limiting the generality of the foregoing, Salesperson shall not, under
        any circumstances, make any offer, payment or other inducement, whether directly or indirectly,
        to induce the referral of business, the purchase, lease or order of any item or service, or the
        recommending of the purchase, lease or order of any item or service.

               4.5      Product Complaints. Salesperson shall immediately notify Distributor of any and
       every customer complaint and every regulatory complaint of which Salesperson becomes aware
       and shall perfonn any and' .all actions as may be reasonably necessary to ensure that all
       infonnation relevant to any such complaint is promptly communicated to Distributor to enable
       Distributor to timely and fully investigate and monitor the same.

              4.6. Marketing Representations. Salesperson shall not make any false or misleading
       representation, warr~nty, guarant~, assurance or statement to any Assigned Customer or to any
       other person regardmg the Medical Products or about NuVasive competitors or competitor
       products; and Salesperson shall not omit to state any material fact about the Medical Products or
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       about NuVasive competitors or competitor products that is necessaiy to make all statements               <A.
       made not misleading. Salesperson shall not make any representation, ."Y~rranty • assura~ce,              W
       guaranty or statement with respect to the specifications, features or capabthttes of any Medi.cal
       Products that is not entirely consistent with the promotional materials and other documentation
       supplied by NuVasive with respect to such Medical Product. In this regard, Salesperson shall not
       make any representation, warranty, guaranty or assurance that expands upon any manufacturer
       limited warranty applicable to such Medical Product.

                4.8      Training and Cooperation. Salesperson shall cooperate fully with Distributo~ in
        all respects in the performance of Salesperson's obligations pursuant to this Agreement including
        participation in requested teleconference and meetings with NuVasive and including the
        provision of sales targeting and sales forecasting information. If and to the extent that NuVasive
        provides any special training regarding the use and operation of any of the Medical Products,
        Salesperson shall attend such training whenever and as often as requested and directed by
        Distributor.

                4.9     Customer Quotes. Salesperson shall quote to Assigned Customers only those
        prices, delivery schedules and other terms and conditions of sale that Distributor is authorized to
        quote pursuant to its relationship with Nuvasive. Salesperson does not have any authority to offer
        any price discount or make any delivery commitment or alter any terms or conditions of sale that
        are not so authorized.

                4.10 Notice of Changes. Salesperson shall promptly notify Distributor of any change
        in the key personnel, organization or status of any Assigned Customer in the Assigned Territory.        ~\
        5.      RESTRICTIVE COVENANTS
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                5.1     Third Party Information and Agreements. Salesperson hereby acknowledges and
        agrees that Distributor has received, and in the future will receive, from NuVasive, Distributor's
        Customers and prospective Customers and other third persons information that is confidential
         and/or proprietary and that is subject to a duty of Distributor to be maintained as confidential and
        used only for the limited purpose(s) for which the same was disclosed to Distributor ("Third
        Party Information"). During and following the Term, Salesperson shall hold all Third Party
        Information in the strictest confidence and, except as may be required by law, shall not disclose
        any Third Party Information to anyone (other than Distributor personnel who have a "need to
        know" such information in connection with Distributor's business) or use any Third Party
        Information other than in the performance of Services to Distributor. In addition Salesperson
        shall cooperate fully with, and provide the Services in accordance with the terms of agreements
        that Distributor has entered, or may in the future enter into with third persons.

                5.2    Confidential Information Defined. As used in this Agreement, "Confidential
        Information" shall mean information furnished or disclosed by Distributor and/or NuVasive to
        Salesperson in verbal or written form, including, without limitation, (a) all materials, trade
        secrets, know-how ' fonnulas, processes, contacts, ideas, strategies,
                                                                      .       inventions, data, network
        configurations, computer programs, software and documentation, prototypes, methods, system
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     architecture, specifications, models, samples, designs, flow charts, drawings and other technical
     information; and (b) all proprietary information of Distributor such as business and marketing
     plans, contracts, proposals, pricing information and other financial and operational information,
     customffiists and logs and all other non-public information, material or data relating to the
     current and/or future business and/or operations of Distributor and/or NuVasive whether or not
      the same is labeled as being confidential. To the extent not otherwise covered by (a) or (b)
      above, Confidential Information shall also include all information concerning the business and
      affairs of the Distributor and/or NuVasive or other materials that are furnished or disclosed by
      Distributor and/or NuVasive to Salesperson and all notes, analyses, compilations, studies,
       summaries and other material prepared by the Salesperson to the extent containing or based, in
       whole or in part, upon any information included in the foregoing. Salesperson stipulates and
       agrees that all such Confidential Information derives significant value from not being generally
       known to, and not being readily ascertainable by, any other person; and, therefore, constitutes
       trade secret information belonging to Distributor or NuVasive, as the case may be. Salesperson
       has been informed and acknowledges that, the unauthorized taking and/or use of Confidential
       Information that constitutes trade secrets could result in civil and/or criminal penalties.

               5.3    Non-disclosure Obligation. Salesperson shall forever keep all Confidential
      Information secret and strictly confidential and Salesperson shall not use, directly or indirectly
      (through one or more affiliates or otherwise), any such Confidential Information except for the
      limited purpose of providing the Services to Distributor. Unless and except to the limited extent
      otherwise consented by Distributor (with respect to Distributor Confidential Information) or
      NuVasive (with respect to NuVasive Confidential Information), which consent may be arbitrarily
      given or withheld by Distributor or NuVasive, the case may be, for any reason or no reason,
      Salesperson shall not disclose the Confidential Information to anyone other than personnel of
      Distributor or NuVasive, as applicable, who have a "need to know" such information and shall
      not remove from Distributor's or NuVasive's premises any records, documents or other data
       containing Confidential Information. Salesperson agrees that upon the expiration of the Term or
       earlier if requested by Distributor (which respect to Distributor Confidential Information) or
       NuVasive (with respect to NuVasive Confidential Information), Salesperson shall promptly
       deliver to Distributor and NuVasive, as applicable, all records, documents and other tangible
       manifestations and electronic recordings of data containing Confidential Information, without
       retention of any copies, and will promptly destroy all notes, extracts and analyses based upon or
       containing any Confidential Information and shall certify, under penalties of perjury, such
       destruction to Distributor and NuVasive, as applicable. Notwithstanding the return of such
       Confidential Information and destruction of all copies thereof, all knowledge of Confidential
       Information shall nevertheless continue to be kept secret confidential forever.

               5.4    Non-Circumvention. During the Term and for twelve (12) months following the
       Term, Salesperson shall not, in any manner, directly or indirectly (through one or more affiliates
       or otherwise), circumvent, avoid, by-pass, obviate, limit, restrict, or otherwise interfere with,
       Distributor's interest or relationship with any of Distributor's vendors, manufacturers,
       distributors or other suppliers (including NuVasive), Distributor's employees or independent
       salespersons, Distributor's Customers or prospective Customers, Distributor's brokers, dealers,
       shippers, financial institutions, technology owners or other persons who or which have a
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          bus~ness relationship with Distributor, or assist any other person in any such circumvention,
          avoidance, by-pass, obviation limitation restriction or interference, or attempt to any of the
          foregoing. Without limiting the generali~y of the preceding sentence, during the Tenn and for              '
          twelve (12) months following the Term, Salesperson shall not, directly or indirectly (through one
          ?r more affiliates or otherwise) (i) induce or attempt to induce, or assist any other person to
          mduce or attempt to induce, any supplier (including NuVasive), any Customer or prospective
          ~ustomer, or any other person in a business relationship with Distributor to discontinue or limit
          ~ts relationship with Distributor, (ii) induce or attempt to induce, or assist any other person to
          i~duce ~r attempt to induce, any employee, agent or independent salesperson of Distributor to
          d1scontmue or limit the relationship between Distributor and such person or, in any way,
          otherwise interfere with any such relationship, or (iii) disparage Distributor, in any way or to any
          extent.

                  5.5     Non-Competition.       Salesperson acknowledges and agrees that the sale and
          di~tribution of medical products such as, or similar to, the Medical Products handled by
          Distributor is a highly competitive field and is largely dependent on the goodwill that a business
          such as Distributor has created with its customers. Salesperson further stipulates and agrees that
          it is reasonable to restrict Salesperson's ability to compete with Distributor in this field not only
          during the Tenn but also for a reasonable period following the Term. Therefore, during the
         Term and for a twelve (12) month period following the Term, Salesperson shall not, in any
         manner, directly or indirectly (through one or more affiliates or otherwise), alone or in
          conjunction with any other person or entity, sell Competitive Products or own, manage, operate
          or control or participate in the ownership, management, operation or control of, or become                     <:"""
          associated, as an employee, director, officer, advisor, agent, consultant, principal, partner,                 '
         member or independent contractor with or lender to any business that is in competition with the
         business of Distributor in (a) the Assigned Territory, (b) in any other locale in which Salesperson
         conducted business activities on behalf of Distributor at any time during the twelve (12) month
         period preceding the termination of Salesperson's employment with Distributor, or (c) in any
         other locale where Distributor or an agent or salesperson of Distributor has conducted business
         activities at any time during the twelve (12) month period preceding the termination of
         Salesperson's employment with Distributor. For purposes of this Section, "Competitive
         Products" means any goods, products or product lines that are directly or indirectly competitive
         with the Medical Products sold by Distributor, including without limitation NuVasive Products.
         For purposes of this Section, "NuVasive Products" means any goods, products, product lines or
            rvices marketed promoted or sold by NuVasive, whether directly or indirectly, (i) that
         ~istributor marke;ed, promoted, sold, or solicited sales .of on b~half of NuV~ive d~ng the
         Term, or (ii) with respect to which Sal~sperson at any time received or otherwise obtained or
         learned Nuy asive Confidential Information.
                            N -Solicitation. During the Term and for a twelve (12) month period f~llowing
                  5 ·6 S on n shall not directly or indirectly (through one or more affihates or
         the Te:m, la1espe~o             ,iunctio~ with any other person or entity, canvas, solicit, or accept any
         otherwise)                    0                             · Customer of D'1strt'butor or any person
             .         ' a one or lDfrc n., any Customer or prospective
         bus mess ~ pa~onag~l ?~ f any Customer or prospective Customer of Distributor, such as an
                     0
         who or which ~s Ian al. ~ iaoe hoe lthcare facility a member of a physician group, an affiliate of a            ,)
         affiliated hosp1ta , c m1c r a                      '                                                            .

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            healthcare provider or otherwise.

                    5.7     Divisibility of Covenant Period. If any covenant contained in this Agree~ent is
            held to be unreasonable, arbitrary or against public policy, such covenant shall be considered
            divisible both as to time, geography and customers, such that each month within the specified
            period shall be deemed a separate period of time, each. cus~omer .a separate cu~tomer, and each
            geographical area a separate geographical area resultmg m an mtended reqmrement that the
            longest lesser time and largest lesser customer ?ase and geogr~phical ~ea determined n~t to be
            unreasonable, arbitrary or against public pohcy shall remam effective and be specifically
            enforceable against the Salesperson.

                   5.8     Injunctive Relief and Specific Performance. Salesperson acknowledges and
          agrees that (i) the Salesperson will have an important role in the development of the goodwill of
          the Distributor and has and will establish and develop relationships and contacts with the
          principal business relationships of the Distributor, (ii) the restrictions contained in this
          Agreement are reasonable in scope and are necessary to protect the Distributor's legitimate
          interests in protecting its business, and (iii) any violation of the restrictions contained in this
         Agreement will cause significant and irreparable harm to the Distributor for which the
         Distributor has no adequate remedy at law. Salesperson hereby acknowledges and agrees that, if
         Salesperson repudiates breaches or violates any of the restrictive covenants set forth in this
         Article 5 or threatens or attempts to do so, Distributor will suffer immediate and irreparable hann
         that will not be compensable by damages alone. In addition to, and not in limitation of, any
         other right or remedy available at law or in equity (each and all of which are expressly reserved
         by Distributor), Distributor shall be entitled to obtain temporary, preliminary and permanent
         injunctive relief (mandatory and prohibitory) as well as specific performance and an equitable
        accounting of, and constructive trust for, all profits or other benefits arising out of or related to
        any such violation in a court of competent jurisdiction to prevent or restrain any actual or
        threatened breach of, or to specifically enforce, any and all of the restrictive covenants contained
        in this Article 5 by Salesperson or any person acting in concert therewith. For purposes of the
       preceding sentence Salesperson hereby irrevocably and unconditionally consents to submit to the
        exclusive jurisdiction and venue of the federal and/or state courts located in Hillsborough
       County, Florida. Salesperson stipulates and agrees that no bond in excess of $150.00 shall be
       required to be posted as a condition for the granting of any such relief. ln connection with any
       application for injunctive relief, Salesperson hereby waives the claim or defense that an adequate
       remedy exists at law.

       6.        REPORTS TO DISTRIBUTOR

               6.1     Business Plan. Prior to the beginning of any Tenn or successive Tenn hereunder
       Salesperson shall submit a business plan for the Services to be supplied to Distributor detailin~
       Salesperson's sales goals and execution strategies for the coming year in a fonn acceptable to
       Distributor in its sole discretion.



,             6.2    Weekly Reporting. Salesperson shall maintain a daily record of all Services
       rendered hereunder. Salesperson shall keep all such records throughout the Term. Salesperson


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       sh.all .prepare and submit to Distributor detailed written reports of Salesperson's Services to
       Distnbutor as often as D~stributor may request, but not less than fr~quen~ly. than weekly on or
       befo!e each Thursday with each such report containing (i) a detailed hstmg of all accounts
       serviced by Salesperson, (ii) the status of work in each account, (iii) reporting and summary of
       purchase order volume and case coverage sheets, as well as open bids generated and their status.
       Such reports shall further include weekly tracking forms outlining the case schedule for
       Salesperson and the top five (5) sales focus items.

               6.3     Physician Payments Sunshine Act. No later than the fifth (5th) day of each
        calendar month during the Term, Salesperson shall provide a report with all information of
        Salesperson ~ecessary to comply with the Physician Payments Sunshine Act, in form and
        substance satisfactory to Distributor in its sole discretion.

               6.4    Confidential. All of the records of Services and reports to Distributor shall be
        considered Confidential Information and their handling and use are subject to, and shall be
        governed by, Article 5 of this Agreement.

        7.      TERMINATION

                7.1     Termination in General. Either Salesperson or Distributor may arbitrarily
        terminate the Term for any reason or no reason at any time by giving the other party fourteen
        ( 14) days prior written notice of termination. No termination pursuant to this Section shall affect
        the liability (by way of indemnification or otherwise) of any party on account of any breach of
        representation or violation of any covenant set forth in this Agreement such as liability               ~
        attributable to a breach of Section 1.4 or liability resulting from a violation of Sections 4.1, 4.2,
        4.4 or Article 5 of this Agreement.

                7.2      Immediate Termination. Distributor may immediately terminate the Term,
        without prior notice, upon a breach or violation of any of the provisions contained in Sections
        1.3(f), 4.1, 4.2, 4.4 or Article 5 of this Agreement or upon the death or disability of Salesperson.
        For purposes of this Section, disability shall mean the inability of Salesperson to perform the
        essential duties of his/her position, due to illness, injury or other physical or mental capacity.

               7.3     Surviving Obligations. Notwithstanding any termination of the Term, whether
        pursuant to Section 7.1 or Section 7.2, no such termination shall affect any of the obligations that
        survive the Term such as those set forth in Article 5 of this Agreement.

        8.      GENERAL PROVISIONS
               81     Licenses. Distributor hereby grants Salesperson a non~exclusive, limited license
        for the ·Term to use Distributor's tra~emark, mis~ion statement, and/or oth~r materials
        ("D' t 'b t r Marks") in connection with the Services. Salesperson hereby stipulates and
            IS rtlh ut toh Distributor Marks are the exclusive property of Distributor and that Salesperson,
        agrees a          e    ment or otherwise has not acquire                     . an d w1'11 not acqmre,
                                                                . d , d oes not acquire,                  •
        b y reason o f Agree                     '            h    .    'b    M    k     h h     1  .
              · h t"tl ·nterest or estate in or to any oft e Distn utor ar s, w et er re atmg to the
        any ng t, l e, 1           '


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      Medical Products or otherwise.

              8.2    Waivers. The failure of any party to insist, in any one or more instances, upon
      observance or performance of any provision of this Agreement shall not be construed as a waiver
      of such provision, shall not constitute a relinquishment of such party's right to thereafter require
      observance and performance of such provision and shaH not constitute a waiver of any other
      right or remedy belonging to such party. The waiver of any breach of any provision of this
      Agreement shall not be deemed to be, and shall not be construed as, a waiver of such provision
      on account of, or with respect to, any other breach of the same or any other provision of this
      Agreement. No provision of this Agreement shall be deemed to have been waived, unless such
      waiver is in writing and signed by the party sought to be charged with a waiver of such
      provision.

               8.3     Entire Agreement. This Agreement, including infonnation incorporated herein by
       reference or attached hereto, sets forth all, and is intended by the parties to be an integration of
       all, of the representations, promises, agreements and understandings among the parties. This
      Agreement supersedes all prior and contemporaneous representations, promises, agreements and
      understandings between the parties; and there are no representations, promises, agreements or
      understandings, oral or written, express or implied, between the parties other than those which
      are set forth or incorporated herein. In entering into this Agreement, neither party has relied
      upon any statement of any person, any assumption, fact or any understanding of law (i) with
      respect to the duration, extension, renewal or termination of this Agreement; (ii) with respect to
      the relationship between the parties; or (iii) which, might change or modify any of the provisions
      of this Agreement or prevent this Agreement from being effective.

             8.4     Successors and Assigns. This Agreement is personal in its nature and Salesperson
     shall not, without the express written consent of Distributor, assign or transfer this Agreement, or
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                 8.6     Counterparts. This Agreement may be executed in any number of counterparts
         and by t~e. different parties on separate counterparts. Each such counterpart shall be deemed to
         be .an ongmal, but all such counterparts shall together constitute one and the same a~eement.
         Thts Agreement shall be deemed to have been executed and delivered on the Effect1ve Date.
         This Agreement ~ay be transmitted and signed by facsimile or by port~ble docum~nt fonnat
         (PDF). The effectiveness of any such documents and signatures shall, subject to applicable law,
         have the same force and effect as manually-signed originals and shall be binding on all parties
         hereto.

                 8.7    Notices.

                         (a) Manner of Delivery. Any notice or demand required or desired to be given to
         any party pursuant to this Agreement shall be in writing and shall be validly served, given,
         delivered or made if and only if (i) personally delivered (including delivery by a commercially-
         recognized courier which provides service between the point-of-origin and the point-of-
         destination); (ii) deposited in the United States mail, certified or registered, postage prepaid,
         return receipt requested; or (iii) made by telecopied or electronic transmission. Service by
         certified or registered mail shall be deemed made on the date actually received or the date on
         which delivery is first attempted, whichever is sooner. Service by telecopier or electronic
         transmission shall be deemed made upon the date of transmission; provided that transmission is
         confirmed prior to 5:00 o'clock p.m. local time at the place of delivery on a business day or,
         otherwise, on the first business day after transmission and provided further that a copy of such
         notice or demand is also deposited in the United States mail, regular service, postage prepaid.

                       (b)     Notices to Distributor. Any notice or demand to Distributor shall be
         delivered to Absolute Medical, Inc., 382 Devon Place ,Heathrow, FL 32746.

                        (c)   Notices to Salesperson. Any notice or demand to Salesperson shall be
         delivered to 1016 Malone Dr., Orlando, FL 32810.

                        (d)     Changes of Addresses. Any party may change its address for the purpose
         of receiving notices or demands by a written notice given to the other party in the manner
         provided in this Section.

                8.8     Governing Law: Jurisdiction. The laws of the State of Florida, as such laws have
        been interpreted and applied by the courts of the State of Florida, shall govern the validity,
        perfonnance and enforcement of each and all of the provisi~ns of this Agreement. Any
        proceedings with respect to the ~erformance or enforcem~nt of ~ts ~greement must be brought
        in the state District Court for Hillsborough County, Flonda, which ts and shall be, vested with
        exclusive jurisdiction.

                8.9    Attorney Fees.       In the event any action or proceeding is initiated by party to
        enforce any provision of this Agreement by reason of any allege~ .breach or default, for a
        declaration of rights or obligations or for any other remedy, the prevathng party shall be entitled
        to recover such amounts as such party may have reasonably expended (including attorney fees)


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     in the prosecution or defense, as applicable, of such action or proceeding; and such amount shall
     be included in any judgment or award rendered in such action or proceeding.

               8.10 Construction. For purposes of interpreting this Agreement, the captions, numbers
      and letters of the various articles, sections, subsections, paragraphs, subparagraphs and clauses
      appearing in this Agreement are inserted only as a matter of convenience and do not, in any way,
      define, limit, construe, or describe the scope or intent of such sections, subsections, paragraphs,
      subparagraphs or clauses of this Agreement and shall not, in any way, be interpreted to affect any
      of the provisions of this Agreement. The necessary grammatical changes required to make the
       provisions of this Agreement apply in a plural or singular sense, where required, or to a
       particular gender shall, in all instances, be assumed as though in each case fully expressed. fu the
       event there exists any obviously manifested clerical error in any provision of this Agreement
       (such as the inclusion or omission of a word or words or an inaccurate section cross-reference
       resulting from renumbering during the drafting process) the correction of such error shall be
       assumed to the same extent as if, in each such instance, this Agreement were .formally amended
       to correct such error. Words such as "herein", "hereof', "hereby", "herefrom" and
       "hereunder", when used in this Agreement shall refer to this Agreement as a whole unless a
        specific provision of this Agreement is expressly identified. The word "person" shall mean any
        individual, corporation, partnership, limited partnership, limited-liability company, trust, estate,
        association or other entity, however denominated. Whenever the context so requires, the word
        "party" shall mean and refer to only each of those persons identified in the introductory
        paragraph of this Agreement. The word "affiliate" of a specified person shall mean any person
        (i) that, directly or indirectly (through one or more intermediaries or otherwise), controls, is
        controlled by, or under common control with such specified person; (ii) that is a shareholder,
        director, officer, partner, member, manager, trustee, beneficiary or employee of either such
        specified person or another person that constitutes an affiliate of such specified person; (iii) of
         which either such specified person or another person that constitutes an affiliate of such specified
        person is or serves as a shareholder, director, officer, partner, member, manager, trustee,
         beneficiary or employee; (iv) in which such specified person has a financial interest, directly or
         indirectly (as a lender or otherwise); or (v) who is a spouse, father, mother, son, daughter,
         brother, sister, uncle, aunt, nephew or niece of such specified person or of any person described
         in the preceding clauses (i), (ii), (iii) and/or (iv). The phrase "and/or" shall be construed both (i)
         conjunctively to bring within the scope of the list of identified words connected with such
         connective all identified words as if only the word "and", by itself was used, and (ii)
         disjunctively to refer only to each identified word as if only the word "or'', by itself, was used.
         The word "including" when following any general statement, provision or language, shall not be
         construed to limit such statement, provision or language to the specific items or matters set forth
         immediately following such word or to similar items or matters, regardless whether or not non-
         limiting language (such as words "without limitation", or "but not limited to", or words of
         similar import) is used with reference thereto, but rather shall be deemed to refer to all other
          items or matters that could reasonably fall within the broadest possible scope of such general
          statement, provision or language. A "business day" shalt mean any day which is not a Saturday,
          Sunday or any day which is a legally-recognized holiday in the State of Florida.

                8.11    Negotiation at Arms-Length. This Agreement has been negotiated fully between

                                                                                                        1556825.1
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~~~--------------caw--~ ~.                                 .-
         the parties as an arms-length transaction. Both parties have had the opp~rtunity to. have this
         Agreement reviewed by counsel. In the case of a dispute concerning the mterpretatton of any
         provision of this Agreement, all parties are deemed to have drafted, cho~en and selected the
         language, and the doubtful language will not be interpreted or construed agamst any party.

                 8.11 Third Party Beneficiary. Section 4.4 and Article V of this Agreement are for the
         benefit of not only Distributor but also NuVasive and, without limiting Distributor's right, in any
         way, NuVasive shall have the right, power and authority to enforce such provisions as though it
         were a party hereto. As such, NuVasive is an express third party beneficiary to this Agreement.


                                              [Signature page follows]




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              Irrespective of the date on which any person actually signs this Agreement, this
       Agreement is being signed to take effect on and as of the Effective Date set forth in the
       introductory paragraph.


                                                       ABSOLUTE MEDICAL, INC.



                                                       By:~~--~~~~~~-
                                                          Greg Soufleris, President




                                                       B~S2
                                                       Print Name:   ~\>A.Y :fu~
                                                       Title: _ _ _ _ _ _ _ _ _ _ __




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                                                                                        1556825.l
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                                              SCHEDULE A

                                        ASSIGNED TERRITORY


         Leake County, Seminole County, Orange County,Volusia County, Osceola County, Brevard
           ounty
                                                                                                '




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                                      SCHEDULE!!

                                  COMPENSATION PLAN

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              Salary                 $5,000.00 Monthly




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       TERMINATION OF CONTRACT AND GENERAL RELEASE AGREEMENT

              This Termination of Contract and General Release Agreement ("Agreement"), is entered

     into by and between Absolute Medical, Inc. , a Florida Corporation with an address of 10525

     Cromwell Grove Terrace, Orlando, Florida, 32827 (the "Company") and LANDIS BURNER,

     LLC. and Brennan Burkhart, individually (the "Contractor"), this 1st day of December, 2017.

                                                RECITALS

              WHEREAS, Contractor entered into an Agreement with Company on June 7, 2016 ("the

     Contract").

              WHEREAS, the Contractor's Contract with the Company will be terminated effective as

     of November 30, 2017 (the "Termination Date") pursuant to section 3 of the Contract.

              WHEREAS, the parties desire to set forth in this Agreement the terms and conditions of

    the termination of the Contract and Contractor's release and waiver of any and all claims that

     it/she has or could possibly have against Company in exchange for the consideration described

    herein;

              NOW THEREFORE, for and in consideration of the mutual covenants contained

    herein, the parties agree as follows:

              1.     Recitals. The Recitals set forth above are herein incorporated by reference.

              2.     Consideration.   In consideration of Contractor's waiver of all claims against

    Company and the other promises made by Contractor in this Agreement, Company agrees to

    provide the following to Contractor:

                     A.     Company promises to pay to Contractor the total gross amount due

    representing one lump sum, which amount shall be subject to usual or ordinary recoupments, if

    any (the "Cash Payment"). The Cash Payment was paid on 11/25/17 in the amount of $4,500.



                                                                                                    EXHIBIT
                                                                                            ~
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                                                                                             l!I
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                     B.       Contractor acknowledges that it/she has been paid for all of it/her earned

     commissions pursuant to the terms of the Contract.

                     C.       Contractor understands and acknowledges that it/she would not receive the

    benefits provided pursuant to this paragraph 2, except for it/her execution of this Agreement,

     it/her waiver of claims against Company, and the fulfillment of the promises contained herein.

            3.       General Release of Claims. Contractor knowingly and voluntarily waives any

     and all known and unknown, unsuspected, unanticipated and contingent claims it/she has or may

    have against Company and its agents, officers, directors, attorneys and employees, future, current

     or past subsidiaries, parents, related entities, employee benefit plans and their officers, directors

     and employees, as of the date it/she signs this Agreement, including but not limited to any

    claim(s) under        local law, regulation or ordinance, public policy, contract, or common law

     claims, including any tort claims    (~,   negligent or intentional infliction of emotional distress,

     defamation, assault, battery, false imprisonment, wrongful termination, etc.), wages or

    commissions, whether based on common law or otherwise; The Florida Civil Rights Act; The

    Fair Labor Standards Act; Title VII of the Civil Rights Act of 1964; The Americans with

    Disabilities Act of 1990; The Older Workers Benefit Protection Act; Age Discrimination in

    Employment Act, 29 U.S.C. Section 621; and any other federal, state or local civil or human

    rights law or any other federal, state (including, but not limited to, Florida law). The listing of

    claims waived in this Section 3 is intended to be illustrative rather than exhaustive. Thus,

    Contractor acknowledges and agrees that this Agreement constitutes a full and final bar to any

    and all claims of any type that it/she now has against Company, or its agents, officers and

    employees.



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            4.      Non-disparagement.     The parties agree that they will refrain from making

     disparaging comments concerning the other party (and, as applicable, the other party's

     management, directors, members and/or employees).

            5.     No Lawsuits. Contractor promises not to institute or have instituted on it/her

     behalf any lawsuit against Company, its agents, officers, directors, attorneys and employees,

     future, current or past subsidiaries, parents, related entities, employee benefit plans and their

     officers, directors and employees based upon any claim it/she is waiving in Section 3 above.

            6.      Confidentiality. Contractor agrees not to disclose, either directly or indirectly,

     any information whatsoever regarding the existence or substance of this Agreement except to an

     attorney with whom Contractor chooses to consult or seek advice, Contractor's accountant, or

    members of Contractor's immediate family.

                   A.      Contractor specifically confirms that it/she will continue to comply with

    the provisions of the "Confidentiality, Non-competition; Competitive Products" clause in section

    5.5 of the Contract (the "CNC").      Contractor understands the non-competition restrictions of

    section 5.5 of the Contract and agrees to be bound by such restrictions.


                   B.      Contractor acknowledges that due to the position it/she has occupied,

    it/she has had access to, among other information, Company's products, procedures, customers,

    sales, prices, contacts with third parties, and trade secrets as defined under the Uniform Trade

    Secrets Act set forth in Chapter 688 of the Florida Statutes, and such other confidential

    inf01mation that belongs exclusively to the Company (the "Confidential Information").

    Contractor agrees to hold all Confidential Information in a fiduciary capacity for the benefit of

    the Company. Contractor will not, without the prior written consent of the Company or as may

    otherwise be required by law or legal process, communicate or divulge any such Confidential
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     Information to anyone other than the Company and those designated by it. Contractor

     acknowledges that any disclosure to any party not authorized in writing by the Company, of

     Confidential Information, will be a material breach under this Agreement.


            7.      Consequences of Breach.       Contractor agrees that if it/she breaks any of the

     promises it/she has made in this Agreement or if it/she takes legal action to challenge this

     Agreement, Contractor agrees that it/she will refund the money that was paid to it/her pursuant to

     this Agreement. The breaching party (Contractor or Company) also agrees that it or it/she will

     pay all costs and expenses incurred by the non-breaching party in enforcing this Agreement or in

     defending against any such legal action, including reasonable attorney's fees and costs.

     However, Contractor agrees that this Agreement will continue to be binding upon it/her even if

     it/she returns, or is required to return, the money that was paid to it/her under this Agreement.

            8.      Non-Admission. Contractor agrees that neither this Agreement nor the furnishing

     of the consideration for this Agreement shall be deemed or construed at any time for any purpose

     as an admission by Company of any liability or unlawful conduct of any kind.

            9.      Reference Request.      Company agrees that if it is contacted by entities or

    prospective employers of Contractor, the Company will only release information concerning the

     dates of engagement, verify the extent of engagement (i.e., Field Support Representative), and

    will advise the entity or prospective employer that it is not the Company's policy to release any

     additional information regarding its Contractors.

            10.     Advice of Counsel.      Each party acknowledges that it/she has the right to be

    represented in the negotiations and preparation of this Agreement by counsel of their own

     choosing. Each party has entered into this Agreement voluntarily, without any coercion, and


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    based upon their own judgment and they have not relied on any representations made by the

    other party, except those representations set forth herein.

               11.   Governing Law and Interpretation. This Agreement shall be governed by and

    construed in accordance with the laws of the State of Florida, with exclusive venue in Broward

    County, Florida. Its language shall be construed as whole, according to its fair meaning, and not

    strictly for or against either party. Should any provision of this Agreement be declared illegal or

    unenforceable by any court of competent jurisdiction and cannot be modified to be enforceable,

    such provision shall immediately become null and void, leaving the remainder of this in full

    force and effect.    This Agreement sets forth the entire agreement between Contractor and

    Company and shall supersede any and all prior agreements or understandings between the

    parties.

               12.   Amendments.     The provisions of this Agreement may not be amended,

    supplemented, waived or changed orally, but only by a writing signed by the party as to whom

    enforcement of any such amendment, supplement, waiver or modification is sought and making

    specific reference to this Agreement.

               13.   No Construction Against Draftsmen.       The parties acknowledge that this is a

    negotiated agreement, and that in no event shall the terms of this Agreement be construed against

    either party on the basis that such party, or its counsel, drafted this Agreement.

               14.   Arbitration. Notwithstanding anything to the contrary in this Agreement, all

    claims for monetary damages and disputes relating in any way to the performance, interpretation,

    validity, or breach of this Agreement shall be referred to final and binding arbitration, before a

    single arbitrator, under the arbitration rules of the American Arbitration Association in Broward

    County, Florida. The arbitrator shall be selected by the parties and if the parties are unable to

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    reach agreement on selection of the arbitrator within 14 days after the notice of arbitration is

    served, then the arbitrator will be selected by the American Arbitration Association.             All

    documents, materials, and information in the possession of a party to this Agreement and in any

    way relevant to the claims or disputes shall be made available to the other parties for review and

    copying not later than 60 days after the notice of arbitration is served. To the extent that a party

    would be required to make confidential information available to any other, an agreement or an

    order shall be entered in the proceeding protecting the confidentiality of and limiting access to

    such information before a party is required to produce such information. Information produced

    by a party shall be used exclusively in the arbitration or litigation that may arise, and shall not

    otherwise be disclosed. The arbitrator shall NOT have subject matter jurisdiction to decide any

    issues relating to the statute of limitations or to any request for injunctive relief, and the parties

    hereby stipulate to stay the arbitration proceeding (without the need of a bond) until any such

    issues in dispute are resolved. Judgment upon the award rendered by the arbitrator shall be final, ·

    binding and conclusive upon the parties and their respective administrators, executors, legal

    representatives, heirs, successors and permitted assigns, and may be entered in any court of

    competent jurisdiction.

           15.     Counterparts. This Agreement may be executed in one or more counterparts,

    each of which shall be deemed an original, but all of which taken together shall constitute one

    and the same

    instrument. Confirmation of execution by electronic transmission of a facsimile signature page

    shall be binding upon any party so confirming.

           16.     Binding Effect. This Agreement shall inure to the benefit of the parties' current,

    former and future parents, subsidiaries, related entities, employee benefit plans and their

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    fiduciaries, predecessors, successors, officers, directors, shareholders, agents, employees and

    assigns.

           17. Effective Date. Contractor understands that this Agreement shall become effective

    and binding Three (3) days after the Contractor's execution hereof, as long as the Contractor has

    complied with the obligations imposed by the Contract and has returned to Company all price

    and customer lists, catalogues, literature and other printed materials, and products related to

    Company or NuVasive.

    THE PARTIES HAVE READ, UNDERSTOOD, AND FULLY CONSIDERED THIS

    TERMINATION OF CONTRACT AND GENERAL RELEASE AGREEMENT AND ARE

    MUTUALLY DESIROUS OF ENTERING INTO SUCH AGREEMENT. THE TERMS OF

    THIS AGREEMENT ARE THE PRODUCT OF MUTUAL NEGOTIATION AND

    COMPROMISE BETWEEN CONTRACTOR AND COMPANY. HAVING ELECTED TO

    EXECUTE THIS AGREEMENT, TO FULFILL THE PROMISES SET FORTH HEREIN, AND

    TO RECEIVE THEREBY THE BENEFITS SET FORTH IN PARA GRAPH 2 ABOVE,

    CONTRACTOR FREELY AND KNOWINGLY, AND AFTER DUE CONSIDERATION,

    ENTERS INTO THIS AGREEMENT INTENDING TO WAIVE, SETTLE AND RELEASE

    ALL CLAIMS IT OR SHE HAS OR MIGHT HAVE AGAINST COMPANY.




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           IN WITNESS WHEREOF, the parties have executed this Termination of Contract and

    General Release Agreement as of the date set forth below.

    Company:

    ABSOLUTE MEDICAL, INC.                             INDEPENDENT CONTRACTOR
                                                       LANDIS BURNER, LLC.

    By: _ _ _ _ _ _ _ _ __                             By: _ _ _ _ _ _ _ __
                                                           (Name)
    Title:-----------                                  Date: _ _ _ _ _ _ _ _ __
    Date: _ _ _ _ _ _ _ _ _ __
                                                       By: _ _ _ _ _ _ __
                                                          Brennan Burkhart,
                                                          Individually




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